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13                                     UNITED STATES DISTRICT COURT
14                                   NORTHERN DISTRICT OF CALIFORNIA
15   SEOUL SEMICONDUCTOR CO., LTD., and                         Case No: 3:22-cv-02869-TLT
     SEOUL VIOSYS CO., LTD.,
16                                                              DEFENDANT FINELITE INC.’S
                       Plaintiffs,                              PARTIAL MOTION TO DISMISS
17   v.                                                         SECOND AMENDED COMPLAINT
18   FINELITE, INC.,                                            Date: June 20, 2023
                                                                Time: 2:00 p.m.
19                     Defendant.                               Location: Courtroom 9, 19th Floor
20   --------------------------------------------------------   Action Filed: May 13, 2022
21   FINELITE, INC.,
22                     Third-Party Plaintiff,
23
     v.
24
     SAMSUNG SEMICONDUCTOR, INC.,
25
                       Third-Party Defendant.
26

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                                                                                       Case No. 3:22-cv-02869-TLT
28        DEFENDANT FINELITE, INC.’S PARTIAL MOTION TO DISMISS SECOND AMENDED COMPLAINT


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21

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11   6A Donald S. Chisum, Chisum on Patents § 20.03[7][c][iii] ........................................................13

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28                                                                         ii                                    Case No. 3:22-cv-02869-TLT
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 1   I.       NOTICE OF MOTION
 2            Defendant Finelite, Inc. (“Defendant”) hereby notices this partial motion to dismiss the
 3   Second Amended Complaint For Patent Infringement (the “SAC”) (ECF No. 93) of Seoul
 4   Semiconductor Co., Ltd. and Seoul Viosys Co., Ltd. (individually “Plaintiff,” collectively
 5   “Plaintiffs” or “Seoul Plaintiffs”) to be heard on June 20, 2023 at 2:00 pm in Courtroom 9, 19th
 6   Floor, before the Honorable Trina L. Thompson.
 7            This motion seeks to dismiss pursuant to Fed. R. Civ. P. 12(b)(6) Plaintiffs’ claims for (i)
 8   pre-suit damages under Counts 1-5, 8-11, 13 and 14, and (ii) damages prior to March 24, 2020
 9   under Counts 6, 7 and 12.
10   II.      STATEMENT OF ISSUES TO BE DECIDED
11            Whether the SAC alleges facts sufficient to plausibly state claims for (i) pre-suit damages
12   under Counts 1-5, 8-11, 13 and 14, and (ii) damages prior to March 24, 2020 under Counts 6, 7
13   and 12, or whether Plaintiffs’ allegations of compliance with the “association” requirement of the
14   patent marking statute, 35 U.S.C. § 287, i.e., that their virtual marking patent lists “associate[]
15   the patented article with the number of the patent,” contradict matters that are properly subject to
16   judicial notice or by exhibits and should not be accepted as true.
17   III.     STATEMENT OF RELEVANT FACTS
18   A.       Background About Finelite, Samsung and the Seoul Plaintiffs
19            The SAC asserts that Finelite is infringing 14 patents “relating to light emitting diodes
20   (‘LEDs’) and LED lighting.” ECF No. 93 at ¶ 1. Finelite does not manufacture LEDs. Rather,
21   cross-defendant Samsung Semiconductor, Inc. (“Samsung”) manufactures the LEDs accused of
22   infringement by the Seoul Plaintiffs and sells them to Finelite. ECF No. 71 at 2. Finelite
23   manufactures and sells high-quality lighting products that use the accused infringing LEDs
24   purchased from Samsung. Id. Finelite has filed a third-party complaint against Samsung seeking,
25   inter alia, a declaratory judgment that Samsung has a duty to defend and indemnify Finelite
26   against the Seoul Plaintiffs’ patent infringement claims. ECF No. 71.
27

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             The SAC alleges that Seoul Semiconductor is “one of the largest manufacturers of LEDs
 2
     in the world” and that Seoul Viosys “is also a leading company in the LED industry.” ECF No.
 3
     93 at ¶ 2. The Seoul Plaintiffs claim to own “[m]ore than 18,000 patents” which “cover a wide
 4
     range from [LED] chips to applications.” Declaration of Kevin L. Reiner (“Reiner Decl.”), Exs.
 5
     N and T. In addition, they claim to “have been actively involved in crackdowns on all
 6
     organizations that violate [their] intellectual property rights,” and promise “to continue to take all
 7
     necessary measures in all countries to prevent such infringement.” Reiner Decl., Ex. N; see also
 8
     Ex. T (containing similar statements). Despite such bravado, the Seoul Plaintiffs have taken no
 9
     such measures against the source of the accused infringing LEDs in this case, Samsung. Instead,
10
     the Seoul Plaintiffs have elected to sue Finelite, one of Samsung’s customers of the accused
11
     infringing LEDs. As part of this “crackdown,” the Seoul Plaintiffs seek an award of damages for
12
     past infringement going back six years. ECF No. 93, p. 43, ¶ C.
13
     B.      Patent Marking
14
             Critical to their ability to maximize their claim for past damages against Finelite, the
15
     Seoul Plaintiffs must be able to plead and prove compliance with the patent marking statute, 35
16
     U.S.C. § 287, throughout the six-years preceding suit.1 Despite their vast patent portfolio, the
17
     Seoul Plaintiffs have not complied with the constructive notice provisions of the patent marking
18
     statute. In light of this, their original Complaint (ECF No. 1) did not contain any allegations of
19
     compliance with the constructive notice provisions of the marking statute. Finelite moved to
20
     partially dismiss the original Complaint on this basis, among others. ECF No. 24. Rather than
21
     oppose Finelite’s first motion for partial dismissal, the Seoul Plaintiffs filed the First Amended
22
     Complaint (the “FAC”). ECF No. 40. The FAC attempted to plead compliance with the
23
     constructive notice provisions of the marking statute, but failed to do so. Finelite filed a partial
24
     motion to dismiss the FAC on this ground, among others. ECF No. 44. The Court granted
25
26   1
       The SAC alleges providing actual pre-suit notice of the alleged infringement only with respect
27   to the patents asserted in Counts 6, 7 and 12, and no earlier than March 24, 2020. ECF No. 93, ¶
     25.
28                                                    2                         Case No. 3:22-cv-02869-TLT
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 1
     Finelite’s motion on this issue, finding that “Plaintiffs did not sufficiently plead compliance with
 2
     the marking statute.” ECF No. 90 at 5.
 3
             The Seoul Plaintiffs have attempted yet again to plead compliance with the constructive
 4
     notice provisions of the patent marking statute, but fail to do so. The Seoul Plaintiffs now allege
 5
     they have marked “substantially all” of their “products covered by the Patents-in-Suit” or the
 6
     “product packaging” “by fixing thereon the word ‘patent,’ along with those patent numbers or an
 7
     internet address at which the Seoul Plaintiffs posted information associating the patented
 8
     products with their corresponding patent numbers (including the Patents-in-Suit), in compliance
 9
     with 35 U.S.C. § 287.” ECF No. 93, ¶ 45 (emphasis added).
10
             Plaintiffs’ webpages corresponding to the virtual marking patent lists of Exhibits 15 and
11
     16 (ECF Nos. 93-15, -16) claim that Plaintiffs’ “18,000 patents cover a wide range from [LED]
12
     chips to applications.” Reiner Decl., Ex. N. However, the virtual marking patent lists
13
     downloadable from those webpages (ECF Nos. 93-15 and -16) fail to identify any specific
14
     product within Plaintiffs’ “wide range” of LED “chips,” much less “associate” any such product
15
     with specifically which of their “more than 18,000 patents” cover it. The Seoul Plaintiffs’
16
     allegation of compliance with the “association” requirement of the patent marking statute is
17
     contradicted by the virtual marking patent listings attached as Exhibits to the SAC, the Plaintiffs’
18
     webpages alleged in the SAC, and their trademark registrations, related sworn statements and
19
     public webpages that are properly the subject of judicial notice. There is no reasonable dispute
20
     that Plaintiffs’ virtual marking patent lists, including the patents-in-suit, failed to “associate[]”
21
     any specific product they have allegedly marked with the patents that cover it. Rather, the virtual
22
     marking patent lists at issue merely associate trademarks representing groups of products or
23
     technologies with the patents-in-suit.
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25
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 1
     IV.     ARGUMENT
 2
     A.      Applicable Legal Standards
 3
                     (1)     Rule 12(b)(6)
 4
             Under Rule 12(b)(6), a party may move to dismiss for “failure to state a claim upon
 5
     which relief can be granted.” Fed. R. Civ. P. 12(b)(6). To overcome a Rule 12(b)(6) motion to
 6
     dismiss, a plaintiff’s “factual allegations [in the complaint] ‘must . . . suggest that the claim has
 7
     at least a plausible chance of success.’” Levitt v. Yelp! Inc., 765 F.3d 1123, 1135 (9th Cir. 2014)
 8
     (citing Ashcroft v. Iqbal, 556 U.S. 662 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007)).
 9
     The Court must “accept factual allegations in the complaint as true and construe the pleadings in
10
     the light most favorable to the nonmoving party.” Manzarek v. St. Paul Fire & Marine Ins. Co.,
11
     519 F.3d 1025, 1031 (9th Cir. 2008). “The court need not, however, accept as true allegations
12
     that contradict matters properly subject to judicial notice or by exhibit.” Sprewell v. Golden State
13
     Warriors, 266 F.3d 979, 988 (9th Cir. 2001). “A claim has facial plausibility when the plaintiff
14
     pleads factual content that allows the court to draw the reasonable inference that the defendant is
15
     liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. “The plausibility standard is not akin
16
     to a ‘probability requirement,’ but it asks for more than a sheer possibility that a defendant has
17
     acted unlawfully.” Id. (quoting Twombly, 550 U.S. at 556). “Although for the purposes of a
18
     motion to dismiss [the Court] must take all of the factual allegations in the complaint as true,”
19
     the Court is “not bound to accept as true a legal conclusion couched as a factual allegation.”
20
     Twombly, 550 U.S. at 555.
21
                     (2)     Judicial Notice and Incorporation by Reference
22
             The Court “may judicially notice a fact that is not subject to reasonable dispute because
23
     it: (1) is generally known within the trial court’s territorial jurisdiction; or (2) can be accurately
24
     and readily determined from sources whose accuracy cannot reasonably be questioned.” Fed. R.
25
     Evid. 201(b). “Proper subjects of judicial notice when ruling on a motion to dismiss include . . .
26
     publically accessible websites[.]” Al-Ahmed v. Twitter, Inc., 603 F. Supp. 3d 857, 866 (N.D. Cal.
27
     2022) (quoting Perkins v. LinkedIn Corp., 53 F. Supp. 3d 1190, 1204 (N.D. Cal. 2014) (taking
28                                                  4                        Case No. 3:22-cv-02869-TLT
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 1
     judicial notice of, inter alia, screenshots of webpages); see also Lindora, LLC v. Limitless
 2
     Longevity, LLC, No. 15-cv-2847 (JAH), 2016 WL 6804443, at *2 (S.D. Cal. Sept. 29, 2016)
 3
     (“When ruling on a motion to dismiss, proper subjects of judicial notice include . . . court
 4
     documents already in the public record or filed with other courts, and publicly accessible
 5
     websites”) (citing Wible v. Aetna Life Ins. Co., 375 F. Supp. 2d 956, 965–66 (C.D. Cal. 2005))
 6
     (additional citations omitted). Indeed, in Al-Ahmed, Lindora, and Wible, the courts took judicial
 7
     notice of publicly available webpages and information. Al-Ahmed, 603 F. Supp. 3d at 868–69;
 8
     Lindora, 2016 WL 6804443, at *3 (taking judicial notice of “hard copies of various publicly
 9
     available webpages”); Wible, 375 F. Supp. 2d at 965–66. Additionally, federal trademark
10
     registrations and their file histories which are publicly available on the U.S. Patent & Trademark
11
     Office (“USPTO”) website also are proper subjects of judicial notice on a motion to dismiss.
12
     Baja Ins. Serv., Inc. v. Shanze Enters., Inc., No. 2:16-CV-02423 (KJM), 2016 WL 1267999, at
13
     *1 (E.D. Cal. Mar. 31, 2016) (“these documents are public records that ‘can be accurately and
14
     readily determined from sources whose accuracy cannot reasonably be questioned’”) (quoting
15
     Autodesk, Inc. v. Dassault Sys. SolidWorks Corp., No. 08-4397, 2008 WL 6742224, at *2 n.1
16
     (N.D. Cal. Dec. 18, 2008) (taking judicial notice of trademark registrations and applications
17
     publicly available on USPTO website on motion to dismiss)).
18
            While “materials that are submitted with and attached to the Complaint” always may be
19
     considered on a motion to dismiss, the Court “may also consider unattached evidence on which
20
     the complaint ‘necessarily relies’ if: (1) the complaint refers to the document; (2) the document
21
     is central to the plaintiff’s claim; and (3) no party questions the authenticity of the document.”
22
     United States v. Corinthian Colleges, 655 F.3d 984, 999 (9th Cir. 2011) (citation omitted); Al-
23
     Ahmed, 603 F. Supp. 3d at 866-67 (incorporating by reference on motion to dismiss email
24
     notifications and user accounts that received notifications, where they were central to plaintiff’s
25
     claim and their authenticity was not disputed).
26
            “A court’s consideration of documents attached to a complaint, documents incorporated
27
     by reference in the complaint, or matters of judicial notice will not convert a motion for
28                                                    5                          Case No. 3:22-cv-02869-TLT
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 1
     dismissal into a motion for summary judgment.” Baja, 2016 WL 1267999, at *2 (citing United
 2
     States v. Ritchie, 342 F.3d 903, 907–08 (9th Cir. 2003); Parks Sch. of Bus. v. Symington, 51 F.3d
 3
     1480, 1484 (9th Cir. 1995)).
 4
                     (3)     Virtual Patent Marking
 5
             The patent marking statute, 35 U.S.C. § 287, creates a notice requirement for a patentee
 6
     to receive damages for infringement. In order to comply with the virtual marking provisions of
 7
     the statute, “[p]atentees . . . may give notice to the public that the [patented article] is patented . .
 8
     . by fixing thereon the word ‘patent’ or the abbreviation ‘pat.’ together with an address of a
 9
     posting on the Internet . . . that associates the patented article with the number of the patent . . .
10
     .” 35 U.S.C. § 287(a) (emphasis added). “The notice requirement is designed for the information
11
     of the public and provides a ready means of discerning the status of the intellectual property
12
     embodied in an article of manufacture or design.” Bonito Boats, Inc. v. Thunder Craft Boats,
13
     Inc., 489 U.S. 141, 162, 109 S. Ct. 971, 103 L. Ed. 2d 118 (1989) (citation omitted). “In
14
     determining whether the patentee marked its products sufficiently to comply with the
15
     constructive notice requirement, the focus is not on what the infringer actually knew, but on
16
     whether the patentee’s actions were sufficient, in the circumstances, to provide notice in rem.”
17
     Nike, Inc. v. Wal-Mart Stores, Inc., 138 F.3d 1437, 1446 (Fed. Cir. 1998). “The virtual marking
18
     requirement was intended to provide such notice in a manner commensurate with the notice
19
     provided by physical marking.” Mfg. Res. Int’l v. Civiq Smartscapes, LLC, 397 F. Supp. 3d 560,
20
     577 (D. Del. 2019) (footnote omitted) (the “USPTO . . . report to Congress in 2014 on virtual
21
     marking” gives no “indicat[ion] that Congress intended to decrease the notice provided by
22
     marking, either physical or virtual”).
23
             The “association” requirement of the marking statute requires the virtual marking
24
     webpage to “associate[]” each patented article with the number of each patent which covers it:
25
                     The plain language of the marking statute requires that the website
26                   (the ‘internet posting’) ‘associate[ ] the patented article with the
                     number of the patent.’ 35 U.S.C. § 287 [emphasis in original]. A
27
                     patentee may not rely on the mere fact that the product is marked
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 1                   with the website for ‘association’; the statute is clear that it is the
                     function of the website to associate the patent and the patented
 2                   article. This requirement ensures that virtual marking provides a
 3                   level of notice commensurate with that of physical marking—the
                     product is associated with the patent, even where a patentee may use
 4                   a single website to mark multiple products.

 5   Id. Accordingly, a plaintiff’s virtual marking website must associate each “specific product it has

 6   marked with the patents which cover it.” Id. at 578. Identification of the specific product associated

 7   with each patent is necessary to provide a level of notice “commensurate with the notice provided

 8   by physical marking” to which the patent number is applied and, thus, to notify the public of the

 9   specific patented article covered by the patent. Id. at 577. A plaintiff’s virtual marking website that

10   “does not mention a single specific patented article by product number or product name,” does

11   nothing to “associate” any “specific product it has marked with the patents which cover it.” Id. at

12   577–78. Such a website “does not provide ‘a ready means of discerning the status of the intellectual

13   property embodied in an article of manufacture or design,’” and “is insufficient as a matter of law

14   to meet the requirements of virtual marking under § 287.” Id. at 578 (quoting Bonito Boats, 489

15   U.S. at 162).

16          In Manufacturing Resources, the plaintiff’s virtual marking website provided a list of

17   patents including a heading describing the category of patents appearing in the list (e.g., “MRI

18   LCD Display Patents”), but did “not mention a single specific patented article by product

19   number or product name.” 397 F. Supp. 3d at 578. Copies of such webpages at issue in

20   Manufacturing Resources are attached to the Reiner Declaration as Exhibit A.2 See also 397 F.

21   Supp. 3d. at 577 (webpages located in the court record at Document 242, Ex. EEEE). The court

22   held that such a “website does nothing to ‘associate’ any of the . . . patents with any of the . . .

23   covered products,” does not “provide a ready means of discerning the status of the intellectual

24
     2
       “A court may take judicial notice of ‘matters of public record’ without converting a motion to
25   dismiss into a motion for summary judgment.” Lee v. City of Los Angeles, 250 F.3d 668, 689
     (9th Cir. 2001) (citing MGIC Indem. Corp. v. Weisman, 803 F.2d 500, 504 (9th Cir. 1986)); see
26   also Lindora, 2016 WL 6804443, at * 2 (“When ruling on a motion to dismiss, proper subjects of
27   judicial notice include . . . court documents already in the public record or filed with other
     courts”) (citing Holder v. Holder, 305 F.3d 854, 866 (9th Cir. 2002)).
28                                                      7                         Case No. 3:22-cv-02869-TLT
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 1
     property embodied in an article of manufacture or design,” and “is insufficient as a matter of law
 2
     to meet the requirements of virtual marking under § 287.” Id. at 578 (internal quotation marks
 3
     omitted).
 4
     B.      Plaintiffs’ allegations in the SAC that they complied with the “association”
 5           requirement of the patent marking statute are not plausible and should be dismissed

 6           The SAC alleges “the Seoul Plaintiffs posted information associating the patented

 7   products with their corresponding patent numbers (including the Patents-in-Suit), in compliance

 8   with 35 U.S.C. § 287” at “the following URLs –

 9           http://www.seoulsemicon.com/en/support/parent_portfolio and

10           http://www.seoulviosys.com/en/technology/legal/.”

11   ECF No. 93 at §§ 45–46. These allegations “contradict matters properly subject to judicial notice

12   or by exhibit,” and therefore the Court should not accept them as true. Sprewell, 266 F.3d at 988.
                    (1)     Seoul Semiconductor’s virtual marking patent lists of Exhibit 15
13
                            merely associate registered trademarks with groups of patents, do not
14                          associate any specific product it has marked with the patents which
                            cover it, and therefore fail to meet the “association” requirement of
15                          the marking statute
16           Exhibit 15 to the SAC contains 11 patent listings, where each listing contains numerous

17   patents and a heading purportedly describing the patented article or articles covered by the patents

18   in the list.3 ECF No. 93-15. The patents asserted in Counts 1-9, 11, 12 and 14 of the SAC are

19   included within patent lists bearing only the following trademarks as headings:

20           1.   “Acrich MJT™”;

21           2. “Acrich2™, 3™”;

22           3. “WICOP™”; and

23           4. “Sunlike™”.

24

25
     3
       Plaintiffs attached as Exhibits 15 and 16 to the SAC copies “of the most recent virtual marking
26   patent lists for Seoul Semiconductor and Seoul Viosys, respectively,” which are downloadable at
27   the two above-mentioned URLs. ECF No. 93, ¶ 46. Therefore, pursuant to the incorporation
     doctrine, the Court may properly consider such Exhibits on this motion to dismiss. Supra, p. 5.
28                                                     8                       Case No. 3:22-cv-02869-TLT
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 1
     ECF No. 93-15 at 4-7, 15-18, 23-24. As indicated by Plaintiffs’ usage of the raised “TM” (™),
 2
     each heading consists of one or more trademarks. Seoul Semiconductor has registered each of
 3
     these trademarks at the USPTO. As matters of public record, available on public (and
 4
     governmental) websites, the Court may take judicial notice of the USPTO “Trademark
 5
     Electronic Search System” or “TESS” records of these marks and the relevant portions of their
 6
     file histories and properly consider the records on this motion to dismiss. Supra, p. 4–5. Copies
 7
     of the TESS records for the above trademarks and relevant portions of their file histories are
 8
     attached to the Reiner Declaration as Exhibits B – M, respectively.
 9
              Each above-identified trademark registration was issued to Seoul Semiconductor on the
10
     Principal Register, which “constitute[s] constructive use of the mark . . . on or in connection with
11
     the goods . . . specified in the registration.” 15 U.S.C. § 1057(c). After five years from the date of
12
     registration, Seoul Semiconductor filed combined declarations of continued use and
13
     incontestability under Sections 71 and 15 of the Trademark Act, 15 U.S.C. §§ 1141k and 1065,
14
     respectively, swearing that the mark was, in fact, in use in commerce in connection with
15
     numerous different goods as follows:
16
         Trademark       Goods for Which Mark Was Used in Commerce Per                  Citation to
17                       Seoul Semiconductor’s Sworn Statement to USPTO                 Reiner
         (Registration
18       No.)                                                                           Declaration
         Acrich MJT      Diodes; light emitting diodes; top light emitting diodes; Reiner Decl.
19                       power light emitting diodes; chip light emitting diodes; big Exs. C at 2-3
         (Reg. No.
20       4,527,553)      top light emitting diodes; high flux light emitting diodes; and E at 1, 3-4.
                         side view light emitting diodes, in Int’l Class 009.
21

22                       Light emitting diode (LED) lamps; light emitting diode
                         (LED) lighting fixtures, in Int’l Class 011.
23

24       Acrich2         Diodes; light emitting diodes; top light emitting diodes; Reiner Decl.
         (Reg. No.       power light emitting diodes; chip light emitting diodes; big Ex. G at 2, 3.
25       4,244,733)      top light emitting diodes; high flux light emitting diodes;
                         side view light emitting diodes; electroluminescence
26                       diodes; laser diodes; luminous or mechanical traffic signal
                         devices, namely, traffic-light apparatus; traffic signaling
27                       panels, luminous or mechanical; road signs, luminous or
28                                                     9                          Case No. 3:22-cv-02869-TLT
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 1                     mechanical; safety signaling panels, luminous or
                       mechanical; safety display panels, luminous or mechanical;
 2                     signaling panels luminous or mechanical; luminous signs;
 3                     luminous beacons, namely, for safety purposes; vehicle
                       breakdown warning triangles, luminous; incubators for
 4                     bacteria culture; constant-temperature incubators for
                       bacteria cultures; light emitting diode displays; flashlights
 5                     with light emitting diode LED for use in photography, in
                       Int’l Class 009.
 6

 7                     Lights for ships; lamps for directional signals of ships; light
                       bulbs for directional signals for ships; headlights for ships;
 8                     lights for aircrafts; lamps for directional signals of aircrafts;
 9                     light bulbs for directional signals of aircrafts; headlights for
                       aircrafts; lights for railway vehicles; lamps for directional
10                     signals of railway vehicles; headlights for railway vehicles;
                       cycle lights; automobile lights; lamps for directional signals
11                     of automobiles; light bulbs for directional signals of
                       automobiles; headlights for automobiles; bicycle lights; air
12
                       purifying apparatus and machines; air deodorizing
13                     apparatus, namely, electric room deodorizing units; water
                       sterilizers; street lamps; germicidal lamps for purifying air;
14                     ultraviolet ray lamps, not for medical purposes; germicidal
                       lamps, not for medical purposes; spotlights; decorative
15                     electric lights, namely, fairy lights; electric torches for
                       lighting; fairy lights for festive decoration; electric lights for
16
                       Christmas trees; standard lamps; artificial solar lamps;
17                     fluorescent lamps; water purifying apparatus for household
                       purposes; humidifiers; electric refrigerators; electric kettles;
18                     light emitting diode LED lamps; dish disinfectant apparatus
                       for household purposes, namely, disinfecting ultraviolet
19                     lamps housed in a container or cover for disinfecting dishes;
                       flashlights; light emitting diode LED lighting fixtures; light
20
                       emitting diode LED lighting fixtures for use in display,
21                     commercial, industrial, residential, and architectural accent
                       lighting applications; lamps; crank-powered portable lamps;
22                     light emitting diode LED lamps whose light can be turned
                       in all directions; overhead lamps; projector lamps; safety
23                     lamps for underground use; tanning lamps; vehicle dynamo
24                     lamps; outdoor lamps, in Int’l Class 011.

25       Acrich3       Diodes; light emitting diodes; top light emitting diodes; Reiner Decl.
26       (Reg. No.     power light emitting diodes; chip light emitting diodes; big Ex. I at 3-4.
         4,315,332)    top light emitting diodes; high flux light emitting diodes;
27                     side view light emitting diodes; electroluminescence

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 1                     diodes; laser diodes; traffic signal devices luminous or
                       mechanical; traffic signaling panels luminous or
 2                     mechanical; road signs luminous or mechanical; safety
 3                     signaling panels luminous or mechanical; safety display
                       panels luminous or mechanical; signaling panels luminous
 4                     or mechanical; luminous signs; luminous beacons; vehicle
                       breakdown warning triangles luminous; incubators for
 5                     bacteria culture; constant-temperature incubators for
                       bacteria cultures; light emitting diode displays, in Int’l Class
 6
                       009.
 7
                       Lights for ships; lamps for directional signals of ships; light
 8                     bulbs for directional signals for ships; headlights for ships;
 9                     lights for aircrafts; lamps for directional signals of aircrafts;
                       light bulbs for directional signals of aircrafts; headlights for
10                     aircrafts; lights for railway vehicles; lamps for directional
                       signals of railway vehicles; headlights for railway vehicles;
11                     cycle lights; automobile lights; lamps for directional signals
                       of automobiles; light bulbs for directional signals of
12
                       automobiles; headlights for automobiles; bicycle lights; air
13                     purifying apparatus and machines; air deodorizing
                       apparatus, namely, electric room deodorizing units; water
14                     sterilizers; street lamps; germicidal lamps for purifying air;
                       ultraviolet ray lamps, not for medical purposes; germicidal
15                     lamps, not for medical purposes; spotlights; decorative
                       electric lights, namely, fairy lights; electric torches for
16
                       lighting; fairy lights for festive decoration; electric lights for
17                     Christmas trees; standard lamps; artificial solar lamps;
                       fluorescent lamps; water purifying apparatus for household
18                     purposes; humidifiers; electric refrigerators; electric kettles;
                       light emitting diode LED lamps; dish disinfectant apparatus
19                     for household purposes; flashlights; light emitting diode
                       LED lighting fixtures; light emitting diode LED lighting
20
                       fixtures for use in display, commercial, industrial,
21                     residential, and architectural accent lighting applications;
                       lamps; crank-powered portable lamps; light emitting diode
22                     LED lamps whose light can be turned in all directions;
                       overhead lamps; projector lamps; safety lamps for
23                     underground use; tanning lamps; vehicle dynamo lamps;
24                     outdoor lamps; flashlights with light emitting diode LED for
                       use in photography, in Int’l Class 011.
25
26       WICOP         Diodes; light emitting diodes; top light emitting diodes; Reiner Decl.
         (Reg. No.     power light emitting diodes; chip light emitting diodes; big Ex. K at 2-3, 4-
27       5,010,295)    top light emitting diodes; high flux light emitting diodes; 5.

28                                                     11                           Case No. 3:22-cv-02869-TLT
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 1                     side view light emitting diodes; electroluminescent diodes;
                       luminous signs; luminous beacons; vehicle breakdown
 2                     warning triangles luminous; lighting ballasts; eyeglasses,
 3                     including eyeglasses for VR device display; goggles for
                       sports; contact lenses; power distributors; transformers
 4                     electricity; condensers capacitors; semi-conductors;
                       transistors; light emitting diode displays; flashlights with
 5                     light emitting diodes for use in photography, in Int’l Class
                       009.
 6

 7                     lights for ships; lamps for directional signals of ships; light
                       bulbs for directional signals for ships; headlights for ships;
 8                     lights for aircrafts; lamps for directional signals of aircrafts;
 9                     light bulbs for directional signals of aircrafts; headlights for
                       aircrafts; lights for railway vehicles; lamps for directional
10                     signals of railway vehicles; headlights for railway vehicles;
                       cycle lights; automobile lights; lamps for directional signals
11                     of automobiles; light bulbs for directional signals of
                       automobiles; headlights for automobiles; bicycle lights;
12
                       standard lamps; light emitting diode lamps; flashlights; light
13                     emitting diode lighting fixtures; light emitting diode
                       lighting fixtures for use in display, commercial, industrial,
14                     residential and architectural accent lighting applications;
                       electric lamps; light emitting diode LED rotation lamps;
15                     non-electronic lamps; outdoor lamps; overhead lamps, in
                       Int’l Class 011.
16

17          There is no reasonable dispute that Seoul Semiconductor registered each mark for the

18   goods set forth in the respective trademark registration, and filed with the USPTO sworn

19   statements that it had used each mark in interstate commerce to identify numerous registered

20   goods as set forth above. Nor is there any reasonable dispute that Seoul Semiconductor’s

21   registered trademarks identify the many products they were registered for, do not identify any

22   “single specific patented article by product number or product name,” and do “nothing to

23   ‘associate’ any specific product it has marked with the patents which cover it.” Mfg. Res., 397 F.

24   Supp. 3d. at 578. Seoul Semiconductor’s “Acrich MJT™”, “Acrich2™, 3™”, “WICOP™”, and

25   “Sunlike™” patent listings of Exhibit 15 are “insufficient as a matter of law to meet the

26   requirements of virtual marking under § 287” for at least these reasons. Plaintiffs’ virtual

27   marking allegations and claims for pre-suit damages for Counts 1-9, 11, 12 and 14 should be

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 1
     dismissed, and claims for damages for Counts 6, 7 and 12 before March 24, 2020 should be
 2
     dismissed.4
 3
                             a)      Seoul Semiconductor’s website referenced in the SAC further
 4                                   establishes that its virtual marking patent lists of Exhibit 15 do
                                     not “associate” any specific product they have marked with the
 5                                   patents which cover it
 6           Plaintiffs’ above webpages are properly considered in connection with this motion to

 7   dismiss because they are referenced in the SAC, are central to Plaintiffs’ claim that they complied

 8   with the “association” requirement of the patent marking statute, and Plaintiffs cannot question the

 9   authenticity of their own webpages.5 Supra, p. 4-5.

10           Seoul Semiconductor’s webpage corresponding to the virtual marking patent lists of

11   Exhibit 15 (http://www.seoulsemicon.com/en/support/parent_portfolio) prominently displays a

12   pie chart including within it segments of the pie labeled with trademarks corresponding to the

13   headings of the virtual marking patent lists, i.e., “Acrich,” “MJT,” “WICOP,” and “SunLike.”

14   Reiner Decl., Ex. N. Similarly, Seoul Viosys’ webpage corresponding to the virtual marking patent

15   list of Exhibit 16 (http://www.seoulviosys.com/en/technology/legal/) prominently displays a chart

16   including within it segments labeled with trademarks corresponding to the headings of the virtual

17   marking patent lists of Exhibit 15, i.e., “Acrich,” “MJT,” and “WICOP.” Reiner Decl., Ex. T.

18           Seoul Semiconductors’ above webpage includes in the upper portion thereof a menu bar

19   with menus labelled “Technology” and “Product.” Hovering the cursor over the “Technology”

20   menu displays the “World’s First 8 Technologies,” which include, inter alia, “Sunlike,” “WICOP,”

21   “Filament,” “Acrich” and “WICOP Pixel.” Reiner Decl., Ex. O. The “Sunlike,” “WICOP,”

22
     4
       Plaintiffs must plead and prove compliance with the constructive notice provisions of the
23   marking statute for all patented products. 6A Donald S. Chisum, Chisum on Patents §
24   20.03[7][c][iii] (“persons under the duty to mark must so mark all patented articles made and
     sold”) (emphasis in original). The failure of a virtual patent marking list to comply with the
25   “association” requirement precludes compliance with the marking statute by the patented
     product(s) on that list, and thus precludes compliance with the marking statute for the patent(s)
26   that cover such product(s). Mfg. Res., 397 F. Supp. 3d. at 578.
     5
27     Alternatively, Plaintiffs’ webpages are proper subjects of judicial notice when ruling on a
     motion to dismiss as publically accessible websites. Supra, p. 4–5.
28                                                    13                           Case No. 3:22-cv-02869-TLT
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 1
     “Filament,” and “Acrich” “Technologies” all correspond to headings in the virtual marking patent
 2
     list downloadable on the same webpage, further establishing that such headings do not identify
 3
     any specific patented article, but merely categorize the patents in the respective listings by
 4
     “Technology.” See SAC at Exhibit 15, ECF No. 93-15; see also Reiner Decl., Ex. K at 13
 5
     (Specimen of Use filed with USPTO by Plaintiff describing “Sunlike” and “WICOP” as “Seoul
 6
     Technologies”).
 7
            Meanwhile, hovering the cursor over the “Product” menu at the top of the same webpage
 8
     displays Seoul Semiconductors’ products in different business segments. The patents asserted in
 9
     Counts 1-9, 11, 12 and 14 of the SAC are included within patent lists bearing the following
10
     trademarked headings: “Acrich MJT™”, “Acrich2™, 3™”, “WICOP™” and “Sunlike™.” There
11
     is no reasonable dispute that these headings do not appear as the name of any “Product” under the
12
     “Product” menu of the webpage. In the “Lighting” segment, the products are categorized as follows:
13
     “High Power,” “Mid Power,” “Horticulture,” “Low Power,” “COB,” “Filament,” “Drivers” and
14
     “Acrich Modules.” Reiner Decl., Ex. P. Each of these categories includes within it subcategories
15
     of products. Clicking on any of the categories or subcategories shows that the products have names
16
     and part numbers. For example, in the “High Power” category, the first product name is “4040,”
17
     and there are several “Part Nos.” under that product name, i.e., “SAW09D0A” and “SAW89D0A.”
18
     Reiner Decl., Ex. Q. Clicking on other product names reveals other extensive part number listings.
19
     As one example, in the “Mid Power” category, the last product name is “3020,” and there are
20
     multiple “Part Nos.” under that product name, e.g., STW8B12B-IZ, STW8B12C, etc. Reiner Decl.,
21
     Ex. R. Yet further, in the “Horticulture” category, the product name is “Horticulture,” and there
22
     are multiple “Part Nos.” under that product name too, e.g., SZ5-M4-B0-00, SZ5-M4-W0-C9, etc.
23
     Reiner Decl., Ex. S. No such product names or part numbers appear in the virtual marking patent
24
     lists of Exhibits 15 and 16. Compare ECF Nos. 93-15, 93-16 with Reiner Decl., Exs. Q, R, S.
25
     Accordingly, the website that Plaintiff relies on in the SAC further reinforces that the headings of
26
     the virtual marking patent lists of Exhibit 15—“Acrich MJT™”, “Acrich2™, 3™”, “WICOP™”
27
     and “Sunlike™”—“do[] not mention a specific patented article by product number or product
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 1
     name” and “do[] nothing to ‘associate’ any specific product it has marked with the patents which
 2
     cover it.” Mfg. Res., 397 F. Supp. 3d. at 578. Thus, despite the allegations contained in the SAC,
 3
     Plaintiffs cannot adequately allege virtual patent marking, as their very own website disproves
 4
     their allegation.
 5
                     (2)    Seoul Viosys’ website referenced in the SAC establishes that its “UV
 6                          LED™” patent listing of Exhibit 16 (ECF No. 93-16) refers to a
                            catalog of “UV LED” products, does not associate any specific
 7                          product it has marked with the patents which cover it, and therefore
                            fails to meet the “association” requirement of the marking statute
 8
             Seoul Viosys’ webpage corresponding to the virtual marking patent lists of Exhibit 16
 9
     (http://www.seoulviosys.com/en/technology/legal/) (ECF No. 93-16) includes the heading
10
     “Virtual Patent Marking Lists” and states in pertinent part adjacent thereto: “Please follow the
11
     links below, which identify groups of products . . . .” Reiner Decl., Ex. T (emphasis added). The
12
     first patent list in Exhibit 16 bears the heading “UV LED™” and includes within it a lengthy patent
13
     listing, including those asserted in Counts 3, 4, 6, 9, 10, 12 and 13 of the SAC. ECF No. 93-16 at
14
     2-7. Moreover, at the top of the same webpage is a menu bar including the identical heading “UV
15
     LED.” Reiner Decl., Ex. T. The “UV LED” menu heading links to a page that, in turn, allows users
16
     to download a “UV LED Catalog.” Reiner Decl., Ex. U.. The downloaded “Total UV Solution
17
     Provider” catalog identifies within it numerous “UV LED” products. Reiner Decl., Ex. V.
18
     Accordingly, there is no reasonable dispute that Seoul Viosys’ “UV LED™” patent list heading
19
     refers to a literal catalog of products, but does not identify any “single specific patented article by
20
     product number or product name,” and “does nothing to ‘associate’ any specific product it has
21
     marked with the patents which cover it.” Mfg. Res., 397 F. Supp. 3d. at 578. Plaintiffs’ own
22
     website—on which Plaintiffs rely in the SAC and of which this Court can properly take judicial
23
     notice—plainly contradicts their allegation that its “UV LED™” patent listing of Exhibit 16
24
     complies with the “association” requirement of the patent marking statute. The Court should not
25
     accept as true Plaintiffs’ allegation that they have “posted information associating the patented
26
     products with their corresponding patent numbers (including the Patents-in-Suit), in compliance
27

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 1
     with 35 U.S.C. § 287.” ECF No. 93, ¶¶ 45-46. Plaintiffs have not and cannot allege adequately
 2
     that they have complied with the virtual patent marking requirements, and dismissal is warranted.
 3
     V.       CONCLUSION
 4
              For the foregoing reasons, Defendant’s partial motion to dismiss should be granted.
 5
     Defendant submits that the deadline for answering any aspects of the Second Amended Complaint
 6
     that are not the subject of this motion is suspended until after a ruling on this motion and in
 7
     accordance with Fed. R. Civ. P. 12(a)(4)(A). See Sun v. Rickenbacker Collections, 2012 WL
 8
     2838782, at *4 (N.D. Cal. July 10, 2012) (“majority of courts have held that Rule 12(a)(4)(A) also
 9
     applies … where … the defendant files a motion to dismiss that is only partially dispositive”).
10

11       Date: March 10, 2023                          MCCARTER & ENGLISH, LLP
                                                       MARK D. GIARRATANA
12                                                     THOMAS J. RECHEN
                                                       KEVIN L. REINER
13

14                                                     NOSSAMAN LLP
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15                                                     DAVID C. LEE
16                                                     By: /s/ Mark D. Giarratana
                                                              Mark D. Giarratana
17

18                                                     Attorneys for Defendant FINELITE, INC.

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     1
